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 Counsel for Defendants

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 ANN LEWANDOWSKI, on her own behalf, on                Civil Action No.: 3:24-cv-671-ZNQ-RLS
 behalf of all others similarly situated, and on
 behalf of the Johnson & Johnson Group Health
 Plan and its component plans,
                                                       Hon. Zahid N. Quraishi
               Plaintiff,                              Hon. Rukhsanah L. Singh

 v.

 JOHNSON & JOHNSON AND THE
 PENSION & BENEFITS COMMITTEE OF
 JOHNSON & JOHNSON,

               Defendants.


              NOTICE OF DEFENDANTS’ MOTION TO DISMISS THE FIRST
                      AMENDED CLASS ACTION COMPLAINT

         PLEASE TAKE NOTICE that on August 5, 2024, or a date to be selected by the Court,

  the undersigned attorney for Defendants shall move for an Order dismissing the First Amended

  Class Action Complaint;




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        PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendants shall

 rely upon their Brief in Support of Defendants’ Motion to Dismiss the First Amended Class Action

 Complaint and the exhibits thereto, which are being filed simultaneously herewith;

        PLEASE TAKE FURTHER NOTICE that a copy of a proposed form of Order

 accompanies the motion.


                                                    Respectfully submitted,

                                                    /s/ Jeffrey S. Chiesa
  June 28, 2024
                                                    Jeffrey S. Chiesa
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